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              1      COOLEY LLP
                     MICHAEL G. RHODES (116127) (rhodesmg@cooley.com)
              2      TRAVIS LEBLANC (251097) (tleblanc@cooley.com)
                     KYLE C. WONG (224021) (kwong@cooley.com)
              3      JOSEPH D. MORNIN (307766) (jmornin@cooley.com)
                     101 California Street, 5th Floor
              4      San Francisco, CA 94111-5800
                     Telephone: (415) 693-2000
              5      Facsimile: (415) 693-2222

              6      DANIEL J. GROOMS (D.C. Bar No. 219124) (admitted pro hac vice)
                     (dgrooms@cooley.com)
              7      1299 Pennsylvania Avenue, NW, Suite 700
                     Washington, DC 20004-2400
              8      Telephone: (202) 842-7800
                     Facsimile: (202) 842-7899
              9
            10       Attorneys for Plaintiffs
                     WHATSAPP INC. and FACEBOOK, INC.
            11

            12                                     UNITED STATES DISTRICT COURT

            13                                 NORTHERN DISTRICT OF CALIFORNIA

            14

            15       WHATSAPP INC., a Delaware corporation,       Case No. 4:19-cv-07123-PJH
                     and FACEBOOK, INC., a Delaware               AMENDED
            16       corporation,                                 JOINT STIPULATION AND [PROPOSED]
                                                                  ORDER TO ENLARGE TIME FOR
            17                                                    PLAINTIFFS TO OPPOSE DEFENDANTS’
                                     Plaintiffs,                  MOTION TO DISMISS AND DEFENDANTS
            18                                                    TO REPLY IN SUPPORT OF MOTION TO
                           v.                                     DISMISS PURSUANT TO L.R. 6-1(B), 6-2
            19                                                    AS MODIFED BY THE COURT
                     NSO GROUP TECHNOLOGIES LIMITED               Date:      April 9, 2020
            20       and Q CYBER TECHNOLOGIES LIMITED,            Judge:     Hon. Phyllis J. Hamilton

            21                       Defendants.

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  COOLEY LLP
ATTO RNEY S AT LAW                                                              JOINT STIP. AND [PROPOSED] ORDER
 SAN FRA NCI S CO                                                                                 ENLARGING TIME
                                                                                      CASE NO. 4:19-CV-07123-PJH
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              1             Pursuant to Local Rules 6-1(b) and 6-2, Plaintiffs WhatsApp Inc. and Facebook, Inc.

              2      (“Plaintiffs”) and Defendants NSO Group Technologies Limited and Q Cyber Technologies Limited

              3      (“Defendants”) (collectively, the “Parties”), by and through their respective counsel, stipulate and

              4      agree as follows:

              5             WHEREAS, Plaintiffs filed a lawsuit (“Complaint”) against Defendants on October 10, 2019

              6      (ECF No. 1);

              7              WHEREAS, Defendants filed a motion to dismiss the Complaint (“Motion”) on April 2, 2020,

              8      which included multiple declarations and exhibits for this Court’s consideration (ECF No. 45);

              9             WHEREAS, under this Court’s Local Rules, the following briefing schedule would apply to

            10       Defendants’ Motion: Plaintiffs’ opposition would be due on or before April 16, 2020, Defendants’

            11       reply would be due on or before April 23, 2020, and any hearing on the Motion would be set for May

            12       13, 2020 (ECF No. 45);

            13              WHEREAS, Defendants’ Motion requires both Parties to brief a variety of complex legal

            14       issues, and Plaintiffs need to investigate factual allegations Defendants raise in their Motion (Wong

            15       Decl. ¶ 6);

            16              WHEREAS, under Civil Local Rule 6-2(a), parties may file a stipulated request for an order

            17       changing time in connection with any deadline that requires papers to be filed or lodged with the Court;

            18              WHEREAS, the Parties have conferred and agree that enlarging their time to (respectively)

            19       oppose and reply in support of the Motion will allow a more complete presentation of the issues raised

            20       by Defendants’ Motion;

            21              WHEREAS, the Parties have been granted one previous time modification in this case

            22       (Plaintiffs’ request to reschedule a Case Management Conference prior to service of the summons and

            23       complaint on Defendants), as discussed in the accompanying Declaration of Kyle C. Wong (Wong

            24       Decl. ¶ 5);

            25              WHEREAS, the requested modification would only modify the date for the hearing on

            26       Defendants’ Motion, which is currently set for May 13, 2020 (ECF No. 45);

            27              NOW, THEREFORE, the Parties jointly stipulate to and request that the Court enter an order:

            28              1. Enlarging the time for Plaintiffs to respond to Defendants’ Motion by one week, extending
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ATTO RNEY S AT LAW                                                                        JOINT STIP. AND [PROPOSED] ORDER
 SAN FRA NCI S CO                                                     1                                     ENLARGING TIME
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              1      their deadline to file their opposition to April 23, 2020;

              2              2. Enlarging the time for Defendants to reply to Plaintiffs’ opposition by one week, extending
                                                           April 30, 2020
              3      their deadline to file their reply to May 7, 2020;

              4             3. Setting the hearing for Defendants’ Motion on May 27, 2020, or at such other date thereafter

              5      convenient to the Court.

              6             IT IS SO STIPULATED.

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              9      Dated: April 9, 2020                           Respectfully submitted,

            10                                                      COOLEY LLP

            11                                                      /s/ Michael G. Rhodes
                                                                    Michael G. Rhodes
            12                                                      Travis LeBlanc
                                                                    Daniel J. Grooms
            13                                                      Kyle C. Wong
                                                                    Joseph D. Mornin
            14
                                                                    Attorneys for Plaintiffs
            15                                                      WHATSAPP INC. and FACEBOOK, INC.

            16

            17       Dated: April 9, 2020                           Respectfully submitted,

            18                                                      KING & SPALDING LLP

            19                                                      /s/ Joseph N. Akrotirianakis
                                                                    Joseph N. Akrotirianakis
            20
            21                                                      Attorneys for Defendants
                                                                    NSO GROUP TECHNOLOGIES LIMITED and Q
            22                                                      CYBER TECHNOLOGIES LIMITED

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  COOLEY LLP
ATTO RNEY S AT LAW                                                                          JOINT STIP. AND [PROPOSED] ORDER
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              1                                             PROPOSED ORDER

              2      PURSUANT TO STIPULATION, IT IS SO ORDERED.                                  S DISTRICT
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              4      Dated: April 14, 2020                                                   IT IS S




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              5                                                                                      hyllis J.




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                                                                                              Judge P




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                                                                   The Honorable Phyllis   J. Hamilton




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            11                        ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1

            12              I, Michael G. Rhodes, attest that concurrence in the filing of this document has been obtained

            13       from each of the other signatories. Executed on April 9, 2020 in San Francisco, California.

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            15                                                            /s/ Michael G. Rhodes
                                                                          Michael G. Rhodes
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  COOLEY LLP
ATTO RNEY S AT LAW                                                                            JOINT STIP. AND [PROPOSED] ORDER
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